       Case 2:22-cv-00509-SMB Document 8 Filed 04/05/22 Page 1 of 6



 1   Marc E. Elias*
     Elisabeth C. Frost*
 2   John M. Geise*
 3
     Mollie DiBrell*
     Alexander Atkins*
 4   ELIAS LAW GROUP LLP
     10 G Street NE, Suite 600
 5   Washington, DC 20002
 6   Phone: (202) 968-4513
     Facsimile: (202) 968-4498
 7   melias@elias.law
     efrost@elias.law
 8
     jgeise@elias.law
 9   mdibrell@elias.law
     aatkins@elias.law
10

11   Roy Herrera (Bar No. 032901)
     Daniel A. Arellano (Bar No. 032304)
12   Jillian L. Andrews (Bar No. 034611)
     HERRERA ARELLANO LLP
13
     530 East McDowell Road, Suite 107-150
14   Phoenix, Arizona 85004-1500
     Telephone: (602) 567-4820
15   roy@ha-firm.com
16   daniel@ha-firm.com

17   Attorneys for Plaintiff Mi Familia Vota in
     Matter No. 2:22-cv-00509-SMB
18
     *Applications for admission pro hac vice
19   forthcoming
20                             UNITED STATES DISTRICT COURT
21                                 DISTRICT OF ARIZONA

22   Mi Familia Vota,                             Case No. 2:22-cv-00509-SMB
23
                        Plaintiff,
24                                                PLAINTIFF’S NOTICE IN
            v.                                    RESPONSE TO COURT’S APRIL 1,
25                                                2022 ORDER AND MOTION TO
     Katie Hobbs, in her official capacity as     STAY CONSIDERATION OF
26
     Arizona Secretary of State, et al.,          TRANSFER REQUEST
27
                        Defendants.
28
       Case 2:22-cv-00509-SMB Document 8 Filed 04/05/22 Page 2 of 6



 1          Plaintiff Mi Familia Vota, by and through its undersigned attorneys, files this notice
 2   in response to this Court’s April 1, 2022 order. While Plaintiff does not currently intend to
 3   oppose the transfer motion, it requests that the Court stay its consideration regarding the
 4   motion to transfer until the pending transfer request described below in League of United

 5   Latin American Citizens v. Hobbs, No. 2:17-cv-04102-DGC (“LULAC”), is resolved.

 6   Plaintiff makes this request in the interest of judicial economy.
            A stay is appropriate here for two reasons. First, Plaintiff does not believe this matter
 7
     is related to the earlier action in Mi Familia Vota et al v. Hobbs et al, No. 2:21-cv-01423-
 8
     DWL (“Mi Familia I”), and would oppose consolidation with that matter as suggested by
 9
     the Attorney General’s motion. See Attorney General’s Mot. to Transfer Related Case,
10
     ECF No. 5-1 at 2. Second, this case shares many common features with Living United for
11
     Change in Arizona v. Hobbs, No. 2:22-cv-00519-SRB, (D. Ariz. Mar. 31, 2022)
12
     (“LUCHA”), which was filed the same day as this matter and concerns the same recently
13
     passed law, and in which Plaintiff understands the Attorney General intends to intervene.
14   That case was filed as related to LULAC, a matter previously before Judge Campbell which
15   dealt with similar issues concerning Arizona’s proof of citizenship requirement for voting.
16   See Civil Cover Sheet, ECF No. 1-1, Living United for Change in Arizona v. Hobbs, No.
17   2:22-cv-00519-SRB, (D. Ariz. Mar. 31, 2022). The plaintiffs in LUCHA have accordingly
18   filed a motion to transfer under Local Rule 42.1 in LULAC. See Mot. to Transfer Related
19   Case, ECF No. 57, League of United Latin American Citizens v. Hobbs, No. 2:17-cv-

20   04102-DGC (D. Ariz. April 5, 2022) (attached hereto as Exhibit A). Given the similarities
     between this matter, LUCHA, and LULAC—as well as the differences between this case
21
     and Mi Familia I—Plaintiff believes it would make the most sense for the Court to stay
22
     consideration of the Attorney General’s motion to transfer until the pending motion is
23
     resolved by Judge Campbell, as it may be most efficient for both this matter and the
24
     LUCHA matter to proceed before Judge Campbell.
25
            There are two principal reasons this case is different from Mi Familia I. First,
26
     contrary to the Attorney General’s assertions, these cases do not involve substantially the
27
     same parties or counsel. While Mi Familia is involved as a plaintiff in both cases, Mi
28   Familia I involves three additional co-plaintiffs. Mi Familia is also represented by different
                                                  -1-
      PLAINTIFF’S NOTICE IN RESPONSE TO THE COURT’S APRIL 1, 2022 ORDER
           AND MOTION TO STAY CONSIDERATION OF TRANSFER REQUEST
       Case 2:22-cv-00509-SMB Document 8 Filed 04/05/22 Page 3 of 6



 1   counsel in both matters. While some of Mi Familia’s counsel in Mi Familia II represent
 2   Plaintiff-Intervenors DSCC and DCCC in Mi Familia I, this fact—if anything—
 3   demonstrates that the cases address different issues. While the Defendants are the same,
 4   this is due to their relationship to the laws at issue. If having the same defendants in

 5   challenges to Arizona election laws meant the suits were related under LRCiv. 42.1, then

 6   almost every election-related lawsuit in this district would end up before the same judge.
     That is not consistent with the rule’s purpose.
 7
            Second, these cases involve different laws and different causes of action. Mi Familia
 8
     I concerns two bills passed in the 2021 legislative session, Senate Bill 1485, which will
 9
     purge voters from Arizona’s popular permanent early voting list if the voters do not cast a
10
     mail-in ballot in two consecutive election cycles, and Senate Bill 1003, which requires
11
     voters who submit early ballots without a signature to “cure” those ballots even though
12
     signatures that are alleged to be “inconsistent” with the signature on the voter’s registration
13
     record may be cured up to five business days after an election. See Compl. ¶ 1, Mi Familia
14   I, ECF No. 1. Plaintiffs argue that, in addition to constituting an undue burden on the right
15   to vote, the laws at issue were passed with discriminatory purpose and constitute intentional
16   racial discrimination. Id. ¶¶ 136-145. These claims will require discovery concerning the
17   legislature’s intent.
18          Mi Familia II involves a different law passed in a different year concerning proof
19   of citizenship for registration. Specifically, Mi Familia II concerns House Bill 2492,

20   legislation passed just last week that will require new registrants using the federal
     registration form required by the National Voter Registration Act (“NVRA”) (the “Federal
21
     Form”) to provide additional proof of citizenship if they want to vote in presidential
22
     elections or vote early by mail for any office, prohibit those currently registered using the
23
     Federal Form who registered without proof of citizenship from voting by mail or in
24
     presidential elections, and require long-registered Arizonans who never had to provide
25
     proof of citizenship to locate and present additional documentation to vote in presidential
26
     elections. Compl. ¶ 3. Plaintiff brings claims alleging an undue burden on the right to vote
27
     and violations of procedural due process. Id. ¶¶ 68-77. Plaintiff does not currently bring
28   any claims concerning the legislature’s intent.
                                                 -2-
      PLAINTIFF’S NOTICE IN RESPONSE TO THE COURT’S APRIL 1, 2022 ORDER
           AND MOTION TO STAY CONSIDERATION OF TRANSFER REQUEST
         Case 2:22-cv-00509-SMB Document 8 Filed 04/05/22 Page 4 of 6



 1          The only overlap in the cases as currently pleaded, then, is that both cases bring
 2   claims that different Arizona laws dealing with different parts of the voting process passed
 3   in different years constitute an undue burden on the right to vote. The Ninth Circuit has
 4   explained that claims concerning an undue burden on the right to vote involve a fact-

 5   intensive inquiry, so cases that raise that same legal theory but as to different laws with

 6   different facts do not necessarily have much in common. See, e.g., Soltysik v. Padilla, 910
     F.3d 438, 450 (9th Cir. 2018).
 7
            Arizona has a long and complex history of applying different registration and voting
 8
     requirements to different voters based on proof of citizenship requirements, a line of cases
 9
     to which Mi Familia II is far more similar. See Arizona v. Inter Tribal Council of Ariz.,
10
     Inc., 570 U.S. 1, 15 (2013); Consent Decree at 7-16, League of United Latin Am. Citizens
11
     Ariz. v. Reagan, No. 2:17-cv-04102-DGC (D. Ariz. June 18, 2018), ECF No. 37 (“Consent
12
     Decree”). Indeed, on the same day Mi Familia II was filed, LUCHA was filed as related to
13
     LULAC. While LUCHA is currently before Judge Bolton, there is a pending motion to
14   transfer the matter to Judge Campbell given its relationship to LULAC. See Ex. A.1
15          While Plaintiff does not oppose transfer before this Court, it believes the Court
16   should stay its consideration of the motion to transfer until the transfer motion that is
17   pending in LUCHA and LULAC is addressed given the substantial similarities between this
18   litigation, LUCHA, and LULAC. If LUCHA proceeds before Judge Campbell, it may make
19   the most sense for this matter to as well. Further, for the reasons stated herein Plaintiff

20   believes this matter does not have a significant relationship to Mi Familia I and, at a
     minimum, should certainly not be consolidated with the earlier matter. To the extent the
21
     Court were to consider consolidation with Mi Familia I, Plaintiff would request the
22
     opportunity to fully brief its opposition to any such consolidation.
23

24

25
     1
26     Given the similarity between the issues in this case and those previously adjudicated in
     LULAC, this Court may alternatively want to consider voluntarily transferring this case to
27   Judge Campbell under LRCiv 42.1(e) for him to determine in the first instance whether
28   this matter and LUCHA should be considered by him together and potentially consolidated
     for some or all proceedings.
                                                 -3-
       PLAINTIFF’S NOTICE IN RESPONSE TO THE COURT’S APRIL 1, 2022 ORDER
           AND MOTION TO STAY CONSIDERATION OF TRANSFER REQUEST
       Case 2:22-cv-00509-SMB Document 8 Filed 04/05/22 Page 5 of 6



 1   Dated: April 5, 2022              Respectfully Submitted,
 2

 3                                     /s/ Daniel A. Arellano
                                       Roy Herrera (Bar No. 032901)
 4                                     Daniel A. Arellano (Bar. No. 032304)
 5                                     Jillian L. Andrews (Bar No. 034611)
                                       HERRERA ARELLANO LLP
 6                                     530 East McDowell Road
                                       Suite 107-150
 7
                                       Phoenix, Arizona 85004-1500
 8                                     Telephone: (602) 567-4820
                                       roy@ha-firm.com
 9                                     daniel@ha-firm.com
10
                                       Marc E. Elias*
11                                     Elisabeth C. Frost*
12                                     John M. Geise*
                                       Mollie DiBrell*
13                                     Alexander Atkins*
                                       ELIAS LAW GROUP LLP
14
                                       10 G Street NE, Suite 600
15                                     Washington, DC 20002
                                       Phone: (202) 968-4513
16                                     Facsimile: (202) 968-4498
17                                     melias@elias.law
                                       efrost@elias.law
18                                     jgeise@elias.law
19
                                       mdibrell@elias.law
                                       aatkins@elias.law
20
                                       Attorneys for Plaintiff Mi Familia Vota in Matter
21                                     No. 2:22-cv-00509-SMB
22                                     *Application for Admission Pro Hac Vice
                                          Forthcoming
23

24

25

26

27

28
                                     -4-
      PLAINTIFF’S NOTICE IN RESPONSE TO THE COURT’S APRIL 1, 2022 ORDER
         AND MOTION TO STAY CONSIDERATION OF TRANSFER REQUEST
       Case 2:22-cv-00509-SMB Document 8 Filed 04/05/22 Page 6 of 6



 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on this 5th day of April, 2022, I caused the foregoing to be
 3   filed and served electronically via the Court’s CM/ECF system upon counsel of record.
 4                                                    /s/ Daniel A. Arellano
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                     -5-
      PLAINTIFF’S NOTICE IN RESPONSE TO THE COURT’S APRIL 1, 2022 ORDER
         AND MOTION TO STAY CONSIDERATION OF TRANSFER REQUEST
